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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS

PRAKASH MOHANTY, Individually and on )        Case No. 1:16-cv-12336-IT
Behalf of All Others Similarly Situated,  )
                                          )
                              Plaintiff,  )
                                          )   CLASS ACTION
       vs.                                )
                                          )
AVID TECHNOLOGY, INC., LOUIS              )
HERNANDEZ, JR, and ILAN SIDI,             )
                                          )
                              Defendants. )
                                          )

                                SUMMARY NOTICE

                                     EXHIBIT C
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TO:    ALL PERSONS WHO PURCHASED OR OTHERWISE ACQUIRED THE
       COMMON STOCK OF AVID TECHNOLOGY, INC. (“AVID” OR THE
       “COMPANY”) DURING THE PERIOD FROM AUGUST 4, 2016 THROUGH
       NOVEMBER 9, 2016, INCLUSIVE (THE “CLASS”)

       YOU ARE HEREBY NOTIFIED, pursuant to an Order of the United States District Court

for the District of Massachusetts, that a hearing will be held on April 30, 2018, at 2:45 p.m.,

before the Honorable Indira Talwani, United States District Judge, at the United States District

Court for the District of Massachusetts, John Joseph Moakley U.S. Courthouse, 1 Courthouse

Way, Boston, MA 02210, to determine whether the proposed Settlement of the Action on the terms

and conditions provided for in the Stipulation, and for the principal amount of One Million, Three

Hundred and Twenty-Five Thousand United States Dollars ($1,325,000.00) cash, plus interest, is

fair, reasonable, and adequate to the Class such that the Class should be finally certified and the

Settlement should be approved by the Court; to determine whether a Judgment and Order of

Dismissal with Prejudice should be entered, and if so, whether it should be in substantially the

form set forth as Exhibit B to the Stipulation; to determine whether the proposed Plan of Allocation

should be approved; to determine any amount of fees, costs, and expenses that should be awarded

to Lead Counsel; to determine the amount of costs and expenses to be awarded to Lead Plaintiff

(including for lost wages); to hear objections to the Stipulation or to the Plan of Allocation or any

award of fees, expenses and costs to Lead Counsel and Lead Plaintiff; and to consider such matters

as the Court may deem appropriate. The Court may adjourn or continue the Final Approval Hearing

or alter its time or date without further notice to Class Members but will not set it earlier than the

time and date set forth in this paragraph.

       IF YOU PURCHASED OR OTHERWISE ACQUIRED ANY AVID COMMON STOCK

DURING THE PERIOD FROM AUGUST 4, 2016 THROUGH NOVEMBER 9, 2016,

INCLUSIVE, YOUR RIGHTS WILL BE AFFECTED BY THE SETTLEMENT OF THIS



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ACTION, INCLUDING THE RELEASE AND EXTINGUISHMENT OF CLAIMS YOU MAY

POSSESS RELATING TO YOUR PURCHASE OR ACQUISITION OF AVID COMMON

STOCK DURING THE CLASS PERIOD. If you have not received a detailed Notice of Pendency

and Proposed Settlement of Class Action (“Notice”) and a copy of the Proof of Claim and Release

form, you may obtain copies by writing to Mohanty v. Avid Technology, Inc. et al., Claims

Administrator, c/o GCG, P.O. Box 10525, Dublin, OH 43017-4525, or on the internet at

www.AvidSecuritiesSettlement.com.      If you are a Class Member, in order to share in the

distribution of the Net Settlement Fund, you must submit a Proof of Claim and Release by mail or

online no later than April 19, 2018, establishing that you are entitled to recovery. You will be

bound by any Judgment rendered in the Action unless you timely and validly request to be

excluded, in writing, to Mohanty v. Avid Technology, Inc. et al., Claims Administrator, c/o GCG

P.O. Box 10525, Dublin, OH 43017-4525, postmarked by April 9, 2018.

       Any objection to the Settlement, the Plan of Allocation, or the fee and expense applications

must be received, not simply postmarked, by one or more of the following recipients no later than

April 9, 2018:

                  COURT                               LEAD                    DEFENDANTS’
                                                     COUNSEL                    COUNSEL
Clerk of the Court                            Frank J. Johnson             John D. Donovan, Jr.
UNITED STATES DISTRICT COURT FOR              JOHNSON FISTEL, LLP          ROPES & GRAY LLP
THE DISTRICT OF MASSACHUSETTS                 600 West Broadway,           Prudential Tower
1 Courthouse Way                              Suite 1540                   800 Boylston Street
Suite 2300                                    San Diego, CA 92101          Boston, MA 02199
Boston, MA 02210

       PLEASE DO NOT CONTACT THE COURT OR THE CLERK’S OFFICE

REGARDING THIS NOTICE. If you have any questions about the Settlement, you may contact

Lead Counsel at the addresses listed above.

DATED:           January 12, 2018             BY ORDER OF THE COURT


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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS




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